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 6                                 UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8    UNITED STATES OF AMERICA,                          )
                                                         )
 9                           Plaintiff,                  )
                                                         )
10            v.                                         )          2:10-CR-585-RLH (PAL)
                                                         )
11    TARHAIN WOODS,                                     )
      a/k/a “Boochie”,                                   )
12                                                       )
                             Defendant.                  )
13
                                          ORDER OF FORFEITURE
14

15            On March 9, 2011, defendant TARHAIN WOODS pled guilty to Count Fifteen of a

16    Seventeen-Count Criminal Indictment charging him in Count Fifteen with Distribution of a Controlled

17    Substance in violation of Title 21, United States Code, Section 841(a)(1), and agreed to the forfeiture

18    of property set forth in the Forfeiture Allegation in the Criminal Indictment and the Plea

19    Memorandum. #1, #43, #44.

20            This Court finds that TARHAIN WOODS shall pay an in personam criminal forfeiture money

21    judgment of $5,020.00 in United States Currency to the United States of America, pursuant to Fed.

22    R. Crim. P. 32.2(b)(1) and (2); Title 21, United States Code, Section 853(a)(1); and Title 21, United

23    States Code, Section 853(p).

24    ...

25    ...

26    ...
     Case 2:10-cr-00585-JCM-BNW          Document 56   Filed 06/10/11   Page 2 of 3




 1            THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United
 2    States recover from TARHAIN WOODS a criminal forfeiture money judgment in the amount of
 3    $5,020.00 in United States Currency.
 4                        10th day of __________________,
              DATED this ______            June           2011.
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 9                                             UNITED STATES DISTRICT JUDGE
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 1                                          PROOF OF SERVICE
 2

 3            I, Elizabeth Baechler-Warren, Forfeiture Support Associate Paralegal, certify that the
 4    following individual was served with a copy of the Order of Forfeiture on June 9, 2011, by the
 5    below identified method of service:
 6            E-mail/ECF:
 7            Shawn R. Perez
              Law Office of Shawn R. Perez
 8            633 South Fourth Street
              Las Vegas, NV 89101
 9            Email: Shawn711@msn.com
              Attorney for the Defendant Tarhain Woods
10

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14                                                 /s/ Elizabeth Baechler-Warren
                                                   Elizabeth Baechler-Warren
15                                                 Forfeiture Support Associate Paralegal
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